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P.O, Box 341 : . Fax: (316) 322-2018
El Dorada, KS. 67042 Department of Corrections www.doc.ks. govifacilities/edcf
Jeff Zrnuda, Secretary Laura Kelly, Governor

Tommy Williams, Warden

Date: SUR ~ 3} 20
TO: Kidd, Anthony #93399 B1-228

Re: Grievance Concerning: K.A.R. 44-15-101a (d) (2) Grievance Procedures and Alternative K.A.R and/or
LM.P.P.

| have reviewed your complaint along with the response provided by UTM J. Hoepner. Based on my
review, | feel no further action is necessary. According to KAR 44-15-101a (d) (2): The grievance
procedure shail not be used in any way as a substitute for, or as part of; the offender disciplinary
procedure, the classification-making process, or the property loss or personal injury claims procedure or
the procedure for censorship of publications specified in the Secretary’s Internal Management Policy and
Procedure. The grievance system shall not challenge the decision of these other procedures.

However, the correct procedures are:

Disciplinary Reports-K.A.R. 44-13-7012 et seq.

Classification Decision Making- .M.P.P. 11-106 section V.
Property Loss-K.A.R. 44-16-102 and |.M.P.P. 01-118

Personal Injury-K.A.R. 44-16-104a and LM.P.P. 01-118
Censorship-L.M.P.P. 12-134 ~

Custody Classification Appeats — 1.M.P.P. 11-106 section IIIB 3

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Furthermore, as stated in K.A.R, 44-15-102 (G){C)(1): “If the warden’s answer is not satisfactory, the
offender may appeal to the secretary’s office by indicating on the grievance appeal form exactly what the
offender is displeased with and what action the offender believes the secretary should take. The
offender's appea! shail be made within three calendar days of receipt of the warden’s decision or within
three calendar days of the deadline for that decision, whichever is earlier.

(7 Biehdlbeeron

Tommy Williams, Warden
El Dorado Correctional Facility
Cc: Offender
File
UTM J. Hoepner

 

 
et Case PPEANOS TES NE Document 46 Filed 05/10/23 Page 15 of 24

KANSAS DEPARTMENT OF CORRECTIONS INMATE GRIEVANCE FOQ@ RW / S-)

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Facility E, DLE i Housing Unit _ Bird ~ LLY . Work Detail Na A

 

 

 

NATURE OF COMPLAINT BE SPECIFIC. (Include names, dates, places, rules, regulation, etc.. how you have
been affected and action you believe the Warden should take.) Use additional paper if necessary. ATTACE-] DOCUMEN-
TATION OF ATTEMPTS AT INFORMAL RESOLUTION PRIOR TO FILING THIS FORMAL GRIEVA INCE (i.e, Form
9s or other correspondence and response from staff member).

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Date this report was given to Unit Team for informal resolution {to be completed by inmate). o | |b a 2.

 

UNIT TEAM RESPONSE (Complete and return to inmate within 10 calendar days)

 

INMATE RESPONSE (Complete and return to Unit Team within 3 calendar days)

SK am satisfied with the Unit Team response and wish to withdraw my formal grievance.

SK am not satisfied with the Unit Team response, and wish te forward to the Warden's office. (This must be done
nn dar days.) Le forwarded to Warden's Office (to be completed by staff).

tori) Lid S17 /az

Inmate Signature Date

 

 

 

“WARDEN RESPONSE (Complete, attach response and return within 10 Working days.)
HAY 2 1 202 Date of Final Answer at “3 m2 ~~) U

Date Returned to Inmate

Date Received

  

 

 

Inmate's Signature Date Date
If dissatisfied with this response, the inmate may appeal to the Becrétary of Corrections within three (3) calendar days of
receipt of this decision from the Warden.

 

 

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Grievance Serial Number

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Type of Complaint (Item 4: Code QJ-75) — CkOs5i1 (HY

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Cause of Complaint (tem 5: Cade 01-30) | SoulL

 

 

 

 

Type of Response (Item 6a: Code 01,02,08 or 09)

 

 

 

 
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| /t )

LAA AE eS hone: (785) 296-3317
ee _ phone: (785)
ES OR eS fax: (785) 296-0014

kdocpub@doc.ks.gov
www.doc.ks,gov

Laura Kelly, Governor

  

Landon State Office Building
900 SW Jackson, 4'" Floor
Topeka, KS 66612

Jeff Zmuda, Secretary of Corrections
Oi ATIC, OCCTENATY Department of Corrections

TO: Kidd, Anthony #93399 B1-228 DATE: May 17%, 2022

SUBJECT: Grievance FROM: Jeremy Hoepner
Unit Manager B Cell House

FINDINGS OF FACT: | received a grievance from you on 5/16/2022, In your grievance you report staff at
LCMHF caused physical harm to you during an incident that took place while you were housed at their
facility on 12/21/2021. In addition, you report you were the victim in the incident, and request to be
released from Restrictive Housing, and removed from OSR status.

CONCLUSIONS MADE: _ The incident that you allege took place on 12/21/2021, happened at LCMHF. This
was prior to your transfer te EDCF on 2/22/2022. There is limited access to the information you allege, due
to the information being at another facility, and of which did not occur at the E! Dorado Correctional
Facility.

ACTION TAKEN: Pursuant to KAR 44-15-101a, D (2) The grievance procedure shall not be used in any
way as a substitute for, or as part of, the inmate disciplinary procedure, the classification decision-
making process, or the property loss or personal injury claim procedure. Your timeframe to file a
personal injury claim over the incidents you allege at LCMHF have expired, as they are over the time
limits to do so. | encourage you to attend monthly Restrictive Housing Review, and work on a plan to
release from RHU, and out to general population here at EDCF. Your current placement is accurate based
on your DR history, and the nature of the DR’s you have received. No further action required at this time.

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